THE STATE OF TEXAS                                FELONY                             WARRANTOFARREST
                vs                                                                   ant No. F2220056
MCCLENDON GREGORY NEAL


                                                                D

To any Sheriff, Constable or e e fficer of the State of Texas, Greetings: You are Hereby
Commanded to Arrest        M          DON, GREGORY NEAL
                                       ~ OL,U                          ifto be found in your
County and bring Him/Her before me, a Justice of the Peace in and for Precinct 2 of Midland
County, Texas, at my office in Midland in said County, immediately, to then and there answer
the State of Texas for an offense against the laws of said State, to-wit:

        FAIL TO REPORT W/INTENT TO CONCEAL THE NEGLECT OR ABUSE

of which offense He/She, MCCLENDON, GREGORY NEAL is accused by the written
complaint, under oath, of MPD J ALONZO filed before me.
      Herein Fail Not, but of this writ make due return, showing how you have executed the
same.
      Witness my official signature, this the 16th day of February 2022

                                                                        :=;)~
$   5_ oDc;:)
          BOND                                                   DAVID M. COBOS            --=---
MUSf BE MAGISTRATED PRIOR                                        Justice of the Peace, Pct 2
TO RELEASE ON BOND                                               Midland County, Texas


Come to hand the _ _ _ day of _ _ _ _                   20~ at _ _ _ o'clock _.M., and executed on the _ _ _
day of                     20_,   at          o'clock  _ _.M., by arresting the within names
                                                                   at                                         m
-  -   -   -  --     --     -  -   --     -  -    --    -   -  -      --  --      --   -
- - - - -- - County, Texas, and Taking his bond or Placing him in Jail at _ _ _ _ _ _ __
                                                                                          -  -   -  -   -  -
        I actually and necessarily traveled _ _ miles in the service of this writ, in addition to any other mileage I may
have traveled in the service of other process in this cause during the same trip.

FEES    -       Making Arrest ............ $ _ _ _ __
                Mileage ....................... $_ _ __ _                 Sheriff/ Constable
                Taking Bond ............... $_ _ _ __
                Commitment...............$_ _ __ _                        _ _ _ _ _ _ _County, Texas
                Release ........................ $- - - --
                                                                          by -   -   - - - -----'Deputy
                TOTAL ....................... $_ _ __   _
OFFENSE: 1-~AILURE TO l{EPORT

.J.P.#:

DATE:         Fchrua rv 16, 2022

BOND:        $     !5, Q()C)
                       '
IN THE NAME AND BY THE AUTHORITY OF TH It STATE OF TEXAS:

        BEFORE ME, the undersigned authority, on this day personally appeared affiant,
who after being by me first duly sworn, says on or about the 20th day of ,JANUARY,
A.D. 2022 and before the making and filing of this complaint, in the County of Midland,
State of Texas,

                 GREGORY NEAL MCCLENDON WM DOB
                              (Name of Defendant)

did then and t •              ona le cause to believe that the physical and mental health
and welfare of                             child had been and may be adversely affected
by the offense of AGGRAVATED s•:XUAL ASSAULT, and the said then and there
knowingly as a professional failed to report as provided by law, and has a duty to report
under 261.1 Ol(a) of the Texas Family Code, and is a state jail felony under 261. l 09 (c) of
the Texas Family Code, the actor intended to conceal the abuse or neglect

against the peace and dignity of the State.
                                               •




 . ,      ~om to and 'a'~ibcd before me by alliant, a credible person, on this t h e ~
dai of Ji!!;;;,_, A.O. 20.                                                                  -



                                                         JUSTICE OF THE PEACE

                                                         Precinct /;)_,.   Place- - -

                                                         Midland County, Texas

                                                        Time Filed : - - - - - - -
                         AFFIDAVIT FOR ARREST WARRANT

                                          J.P.#      p~~d)5,h

THE ST ATE OF TEXAS
COUNTY OF MIDLAND                                                                   Casc#220128019
The undersigned affiant, being a peace officer under the Jaws of Texas, and being duly sworn,
on oath, makes the following statement and accusation:

I. Suspected Par                                                             Blonde Hair, Blue Eyes, 5'10",
195LBS,

2. It is the belief of Affiant, and he hereby charges and accuses, that said suspected party has
com mittcd the following offense: FAILURE TO REPORT TEXAS FAMILY CODE SECTION 261.109(C}
(STATE JAIL FELONY) ON OR ABOUT JANUARY 20TH, 2022AT MIDLAND CHRISTIAN SCHOOL LOCATED
AT 2001 CULVER IN MIDLAND, IN THE COUNTY OF MIDLAND, TEXAS.

3. Affiant has probable cause for said belief by reason of the following facts, to wit:

The affiant Jenn ic Alonzo is a Detective with City of Midland Police Department and is currently assigned to
the Crime Against Persons Division in the Investigative Service Bureau. A fliant has been employed with the
Midland Police Department for 9 years.

On Friday, January 28, 2022, I, Detective Alonzo was the on-call Crimes Against Persons Detective and
was notified in reference 10 a possible sexual assault of a child that occurred at Midland Christian School.
I was further advised that the assault did not just occur. The incident was reported to have occurred on or
about Thursday, January 201h, 2022, during baseball practice at Max l·I. Christensen Stadium located at
4300 N. Lamesa.

I contacted the victim, ,_               (WM DOB -              and his mother Veronica Costilla in
reference to the incidcn~                vicw was scheduled for Friday, February 11, 2022, at the
Children's Advocacy Center.
    -        over onto his back and put a bat in his butt             explained th.at he was wearing white
   baseball pants when -       put the bat  up his butt. When the bat was pushed into his butt, his pants and
   underwear were pushed in as we! L _ __ _ __ stated that he could feel the knob of the bat in his butt.
 -             xplained that when he fell the bat, it was felt hard.-       e stated that when he got up his butt
   hurt, and it was sore.

  Radhi exited the interview for a break. When Radhi returned to the interview room, she clarified with
-             vhat had happened with the bat. -             lated that the bat went into his butt.-    tated
              like something poking him.              stated that his underwear was pushed in his butt
~             lated tlrnt it felt like something was poking through his pants, puncturing his butt.-
  stated that his hands were behind his back.

    -         lated that he secs         now. The two of them sec each other every day as they arc on the
     same baseball team.

    On Friday, February 11, 2022, SGT R. Sharp and I went to Midland Christian School located at 2001
    Culver Dr. to speak with the Superintendent of the school; which is Jared Owen Lee (WM DOB
                 . Lee was out of the onicc. However, I spoke with Dana Elizabeth E l ~
                _ who is the scc-         hool principal. I requested for Ellis to have             come to
    the office. After some time          came to the office and was later transported to the Midland Police
    Department.

            spca- ·       !is, she advised me that she was aware of an investigation into the incident between
    •
            and            Ellis stated that she knew it had been documented. I requested copies of the
    documentation. However, Ellis slated that Lee had the documentation pertaining to the incident and she
    did not have access to it I requested that the documents be sent to me on Monday February 14, 2022. It
    was discovered that on Thursday, January 20, 2022, Ellis was notified in reference to a sexual assault that
    had occurred. Ellis stated she knew of the incident on January 20, 2022, that a one of baseball players had
    a baseball bat shoved into his anus. On January 21, 2022, Ellis notilicd Lee in reference to the student
    having a baseball bat shoved up his a ~               hc was aware on that date. At that time · ·
    Gregory Neal McClcndon (WM DOBlllllllllllllland Matthew David Counts (WM DOB
    conduct an "investigation" into the incident instead of notifying law enforcement or another state agency
    listed in Texas Family Code section: 261.10 I. I provided her with my card with my contact information.

    On February 14, 2022, I received a call from Lee who stated tlmt he would not provide the documentation
    and refused to answer any questions during the call, he requested a search warrant.

    It should be noted that in the original report, Officer Fonseca listed that he spoke with Lee on January 28,
    2022. During this interaction. Lee stated that their investigation found the baseball bat did in fact touch
              anus but did not go inside.

    A search warrant was applied for and granted. The search warrant was served on February 14, 2022, at
    Midland Christian School.

    During the course of the investigation, it was found that the following individuals employed with Midland
    Christian School had knowledge of the sexual assault on January 21, 2022 - Jared O _ Lee who is the
    Superintendent or Midland Christian, Dana E. Ellis who is the Principal of the Secondary School,
    Matthew D. Counts who is the Vice Principal of the Sc             •    I, Gregory N. McClcndon who is
    the Athletic Director, and Barry Lee Russell (WM DO                    who is one of the baseball coaches.
    These individuals who arc administrators and teachers at Midland Christian School arc required by Texas
                                                          2
family Code:261. IO I to report the incident to authorities. Instead of reporting the incident they have
continually attempted to conceal the incident or abuse from authorities. The above listed staff inembel's of
the school conducted their own "investigation" although they had knowledge of the sexual assault.

During the search at Midland Christian School, I was given documents by Lee. These were described as
"notes'' from McC!cndon and Counts. There was no documentation. These documents were created either
February              mts and February 12th by McClcndon. In these notes, there was documentation that
describes              anus was touched with the baseball bat. However, Mcclendon and Counts both
stated that on 1·eoruary 14, 2022, during separate interviews that this was most of the infonnation they
could remember (interviews with students) since the incident occurred three weeks ago. None of the
students were interviewed by a forensic interviewer. The victim did not have a forensic interview, nor did
he have a SANE done at that time due to law enforcement not being notified of the incident.

I was also given emails that contained communication between the initial complainant, Lee, Ellis, Counts,
McClendon, and Russell. In the emails it was made very clear that a sexual assault had occurred, and the
school had a duty to report. The complainant told the school administration if they did not report the
incident, he would have to as a mandatory/professional reporter. There were multiple emails exchanged.
Several of the administrators refused to report the incident as shown in emails when communicating and
responding to the complainant.

The above listed administrators of Midland Christian School failed to report the abuse under Texas
Family Code Section: 261.109 in an attempt to conceal the allegation ora fellow student/baseball player
who sexually assaulted another student/baseball player (victim) with a baseball bat.

On this date, February 16, 2022, a warrant will be issued for the following - Jared Owen Lee, Dana
Elizabeth Ellis, Gregory Neal McClendon, Matthew David Counts, and Barry Lee Russell for Failure to
Report (State Jail Felony).

ALL THE FACTS CONTAINED HEREIN ARE SUBSEQUENT TO AND GATHERED THROUGH OFFICIAL POLICE
REPORTS AND FROM THE CRIMINAL INVESTIGATION CONDUCTED BY DETECTIVE JENNIE ALONZO OF THE
MIDLAND POUGE DPEARTMENT. THE ABOVE EVENTS OCCURRED IN THE CITY AND COUNTY OF MIDLAND.
TEXAS AND ARE TRUE AND CORRECT TO THE BEST OF AFFIANT'S KNOWLEDGE.

Wherefore, affiant asks for an issuance of a warrant that will authorize h
party.




Subscribed and sworn to before me by said Affiant on this the 16·rn day of February 2022.


                                                                          l
Time- - - - -                                                     Justice of the Peace
                                                                  Precinct# tJ_
                                                                  Midland County, Texas



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